                         Case 9:17-cr-00012-DLC Document 149 Filed 11/17/17 Page 1 of 9
AO 245B (Rev. 09/17)    Judgment in a Criminal Case
                         Sheet I



                                                  UNITED STATES DISTRICT COURT                                                   NOV 17 2017
                                                                      District of Montana                   Clerk, U.S Oittrict Court
                                                                               )                               o~.i>f Montana
                UNITED STATES OF AMERICA                                       )       JUDGMENT IN A CRIMINAL C...:AMISsoula
                                         v.                                    )
                   JOHN THOMAS GIBLIN Ill
                                                                               )
                                                                                       Case Number: CR 17-12-M-DLC-01
                                                                               )
                                                                               )       USM Number: 16782-046
                                                                               )
                                                                               )        Eric Henkel
                                                                               )       Defendant's Attorney
THE DEFENDANT:
liZI pleaded guilty to count(s)               7 and 17 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                       Offense Ended
 18U.S.C. § 1343                          Wire Fraud                                                             4125/2011               7
 18 U.S.C. § 1028A(a)(1)                  Aggravated Identity Theft                                              4/25/2017               17



       The defendant is sentenced as provided in pages 2 through              __
                                                                               9 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
liZI Count(s)     1, 3, 4, 8, 13, 14, and 18
                _.:..__'---'-'-....:_........:_   ______ Dis            liZI are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in econotnic circumstances.

                                                                               11/17/2017
                                                                              Date of Imposition of Judgment




                                                                              Signature of Judge




                                                                               Dana L. Christensen, Chief Judge
                                                                              Name and Title of Judge


                                                                               11/17/2017
                                                                              Date
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AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -          2_ of
                                                                                                                  Page _ _       9
 DEFENDANT: JOHN THOMAS GIBLIN Ill
 CASE NUMBER: CR 17-12-M-DLC-01

                                                            IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  10 months on Count 7 and 24 months on Count 17, to run consecutively. This sentence is to run concurrently to any
  sentence imposed in Defendant's other United States District Court for the District of Montana proceeding, namely, Docket
  No. CR-16-91-BLG-SPW.


     liZ! The court makes the following recommendations to the Bureau of Prisons:
  ( 1) Defendant shall participate in the Bureau of Prisons' 500 hour Residential Drug Treatment Program (RDAP), if eligible.
  (2) Defendant shall be placed at the Bureau of Prisons' facility at FPC Yankton in Yankton, South Dakota, due to the facilities
  available and proximity to family.

     liZI The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D at                                               D p.m.      on

            D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                     to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                          By - - - - - - ----------------
                                                                                       DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                        Judgment-Page _ L of             9
DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
     3 years on Count 7 and 1 year on Count 17, to run concurrently.




                                                    MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.       ~ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.       ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                               Judgment-Page - - - '4- - - of _ _ _9_ __
DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
                                                                                                                -----------~
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 AO 245B(Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3D - Supervised Release
                                                                                             Judgment-Page __[___ of         9
DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant will provide the United States Probation Officer with any requested financial information and shall incur
no new lines of credit without prior approval of the United States Probation Officer. You must notify the Probation Officer of
any material changes in your economic circumstances that might affect your ability to pay restitution, fines or special
assessments.

 2. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

 3. The defendant shall not engage in any gambling or wagering activity of any kind, whether online, over the telephone, or
 in person, and shall not enter any casino or other place of business where gambling is the primary service offered.

 4. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
 Probation Officer, until such time as the defendant is released from the program by the probation officer. The defendant is
 to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

 5. The defendant shall submit their person, residence, place of employment, vehicles, and papers, to a search, with or
 without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
 condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
 occupants that the premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
 suspected contraband for further examination.

 6. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
 primary item of sale.

 7. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
 365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
 defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

 8. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
 and/or synthetic stimulants that are not manufactured for human consumption, for the purpose of altering their mental or
 physical state.

 9. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
 marijuana card or prescription.

 10. The defendant shall utilize one primary physician and one pharmacy to prescribe, dispense and monitor all necessary
 prescription medication. The defendant shall notify any treating physician/facility of a history of substance abuse. The
 defendant shall allow third party disclosure to any treating physician/facility regarding the defendant's history of substance
 abuse.

 11. The defendant must not use or possess any controlled substances without a valid prescription. If the defendant
 receives a valid prescription, he must disclose the prescription information to the probation officer and follow the
 instructions on the prescription.
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AO 245B (Rev. 09/17)              Judgment in a Criminal Case
                                  Sheet 5 - Criminal Monetary Penalties
                                                                                                                           Judgment-Page -=6- of                  9
 DEFENDANT: JOHN THOMAS GIBLIN Ill
 CASE NUMBER: CR 17-12-M-DLC-01
                                                           CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                             Assessment                         JVTA Assessment*                                                   Restitution
 TOTALS                    $ 200.00                         $                                    $                               $ 4,776.54


 D The determination of restitution is deferred until
                                                                          - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
        after such determination.

 ti     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Na~~ of Payee                                                                   Total Loss**                      Restitution Ordered           Priority or Percentage
  ~~~ou1~1:f:ede~1.c~1t Uni~
                                                                                                 (''



                                                                                     :I!         $163.f:l~                       $2~3.80

  Wells Fargo Fraud Investigations                                                                   $74.45                        $74.45

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  Missoula Federal Credit Union                                                                      $92.03                        $92.03

  Missoula federal Credit Ul'lion                                                                ,14.ti!,()8                 $1,142;06
  Chase Bank USA, N.A. Attention                                                                 $900.00                         $900.00

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                                                                                           •· •· $31$:~61                      ••$316~61
  Wells Fargo                                                                                    $499.43                         $499.43
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  Kn$.·.Hayl~ft & $~loon.                                                                                                        $739(,$0
  Missoula Federal Credit Union                                                                      $75.88                        $75.88

  Fr~~ie's,,Donviilen~ Stdtf                                                                . \~23$~~6
                                                                                                                               1
                                                                                                                                 $233,,:ta


 TOTALS                                           $ _ _ _ _ _4_,7_7_6_.5_4_                 $                         4,776.54
                                                                                                ----------

 D        Restitution amount ordered pursuant to plea agreement $

 D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ~ the interest requirement is waived for the                     D fine     ~ restitution.

          D the interest requirement for the                    D   fine     D    restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 5A - Criminal Monetary Penalties
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DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
 See attached Exhibit 1 (sealed) for addresses of all restitution Payees.

 The restitution is to be paid in an amount of not less than $200.00 per month, or as otherwise directed by U.S. Probation.
 Payment shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807 as disbursed
 according to Exhibit 1.
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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 5B - Criminal Monetary Penalties
                                                                                                                   8_ of
                                                                                                   Judgment-Page _ _                  9
DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01

                                            ADDITIONAL RESTITUTION PAYEES
                                                                                                                          Priority or
Name of Payee                                                                             Restitution Ordered             Percentage
 ~~~na V~He~!lil)~St~re                                                                                   $~.00',''"'11
 Thornburg, Ted & Brenda                                                       $300.00                  $300.00




      *Findings for the total amount oflosses are required under Chapters l09A, 110, l IOA, and l 13A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                      Case 9:17-cr-00012-DLC Document 149 Filed 11/17/17 Page 9 of 9
AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments
                                                                                                                           9_ of
                                                                                                           Judgment-Page _ _                     9
DEFENDANT: JOHN THOMAS GIBLIN Ill
CASE NUMBER: CR 17-12-M-DLC-01

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ill   Lump sum payment of$         200.00               due immediately, balance due

            D      not later than                                 , or
            liZI   in accordance with D     c,    D D,       D     E, or     liZI F below; or
B     D     Payment to begin immediately (may be combined with             DC,         OD, or       D F below); or

C     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                                                                                                       -------
                          (e.g., months or years), to commence       _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ill   Special instructions regarding the payment of criminal monetary penalties:

             Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
             and payment shall be through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary
             payments shall be made to the Clerk, United States District Court, P.O. Box 8537, Missoula, MT 59807.



Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Nathan Alan Swenson, CR 17-12-M-DLC-02; Darcy Lee Segal, CR 17-12-M-DLC-03; Jasmine Michele Giffin, CR
       17-12-M-DLC-04, are all held accountable for the restitution amount imposed in each Defendant's respective judgment
       form.


D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
